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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 CHUNG H. CHANG,

                     Plaintiff,                                              19-cv-2091
             v.

 WARNER BROS. ENTERTAINMENT, INC.,                                           COMPLAINT

                    Defendant.
 ------------------------------------------------------------------------×

        Plaintiff Chung H. Chang (“Chang” or “Plaintiff”), by his counsel, the Law Offices of

Veronica S. Jung PLLC, alleges for his Complaint against Defendant Warner Bros.

Entertainment Inc. (“Warner Bros.” or the “Company”), as follows:

                                     PRELIMINARY STATEMENT

        1.        Chung Chang began working for Dramafever, a digital streaming service

providing Korean and other East-Asian media to Western audiences, in May 2015. Dramafever

was founded by Korean Americans, and, at the time Plaintiff Chang first joined the company,

Dramafever had a largely Asian American executive class, including Plaintiff Chang, who was

Dramafever’s Vice President of Finance. In 2016, Warner Bros. Entertainment Inc. (“Warner

Bros.”) acquired Dramafever. As part of that transaction, Dramafever became Warner Bros.

Digital Labs (“Digital Labs”), a division of Warner Bros. (collectively the “Company”).

        2.        Defendant Warner Bros. Entertainment Inc. (“Warner Bros.”), in a blatant act of

racial discrimination, recently terminated all of the Asian American executives who worked at

Dramafever, including Plaintiff Chang. In contrast, upon information and belief, Warner Bros.

retained all of the White executives who had worked for Dramafever.

        3.        When Chang hired an attorney to represent him and notified the Company of his

claim of discrimination, Warner Bros. retaliated against Chang by seeking to falsely blame



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Chang for potentially significant legal liabilities which Warner Bros. now faces given the

Company’s failure to properly license music contained within television shows and movies

which were hosted by Digital Labs. As Vice President of Finance of Digital Labs, Chang was

responsible for operating Digital Labs’ finance organization. Chang is not an attorney and had

no responsibilities for content licensing.

       4.       Upon information and belief, in October 2018, Warner Bros. shut down Digital

Labs’ Dramafever streaming channel—one that featured Korean and other East-Asian television

shows and movies—in order to obscure the scope of Warner Bros.’ infringement of the

intellectual property rights of countless musicians, composers, artists, and record labels. Since

Warner Bros. suddenly took down all of the content from the Dramafever streaming service,

music copyright holders are now unable to peruse the Dramafever library to ascertain the extent

to which Warner Bros. infringed on their intellectually property rights.

       5.       By using the closure of Dramafever to mask its discriminatory conduct, Warner

Bros. subsequently terminated every high-level Asian American employee of Dramafever,

including Plaintiff Chang, while sparing high-level White employees.

       6.       Upon information and belief, Warner Bros. systematically removed Asian

Americans from leadership roles in Digital Labs because it viewed those Asian American

executives as fundamentally “foreign” and incapable of engaging with Warner Bros.’ primarily

White executive class. Chang himself had previously raised concerns with the Company’s then-

CEO, Patty Hirsch, concerning the manner in which Asian Americans were treated at the

Company.

       7.       Upon information and belief, Warner Bros. now is hedging that the thousands

upon thousands of copyright holders whose rights were infringed on the Dramafever channel will




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not notice Warner Bros.’ copyright infringement of their work until all applicable statutes of

limitations expire. When those statutes of limitations expire, all copyright holders whose works

were infringed by Warner Bros. will be barred from seeking financial relief and vindicating their

rights against Warner Bros.

       8.       Upon information and belief, Warner Bros. also shut down another of its content

platforms, Machinima, on or about January 18, 2019. After being one of the largest channels on

YouTube for over 10 years, Machinima suddenly made all of its video content private, thus

preventing members of the public from viewing its content. Warner Bros. shut down Machinima

and scrubbed the internet of all of its content given the concern that much of its content infringed

the copyrights of others. The hundreds of thousands of videos on the Machinima channel has

exposed Warner Bros. to potentially unbounded liability should those copyright holders discover

that Warner Bros. was infringing their work.

       9.       Upon information and belief, issues pertaining to the proper licensing of

copyrighted content hosted on the internet and on streaming platforms have been well known by

entertainment lawyers, including those at Warner Bros. for decades. YouTube itself, including

its current owner, Google, has been subject to extensive litigation concerning the alleged

improper use of copyrighted material in videos hosted on YouTube. Thus, any effort by Warner

Bros. to claim that it did not know or could not have known of extensive copyright infringement

on its platforms, including on Machinima and Dramafever, would ring hollow.

       10.      Upon information and belief, it is readily known in the entertainment community

that, typically, the reason for the sudden removal of videos from YouTube and other platforms is

to avoid further copyright exposure. Instantaneously removing videos, without warning, as

Warner Bros. has done, effectively prevents copyright holders from having a final opportunity to




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identify any infringing material. Accordingly, the rationales for the sudden shutdowns of both

Dramafever and Machinima are readily apparent. See, e.g., On DramaFever and International

Distribution Licenses, available at http://www.8asians.com/2009/01/08/on-dramafever-and-

international-distribution-licenses/ (last visited February 25, 2019) (“The blanket reason for

deletion usually is copyright infringement.”); Why Machinima DELETED Videos, available at

https://www.youtube.com/watch?v=tqpNgy49PJA (last visited Feb. 25, 2019) (asking why

Warner Bros. would remove all Machinima content on a channel with 12 million subscribers

because the Company could be earning tens of thousands of dollars per month for doing

absolutely nothing through residual advertising income); id. (questioning whether all of the

intellectual property rights on “all those thousands and thousands of [Machinima] videos” had

been properly secured); id. (reporting that AT&T, the new owner of Warner Bros., “is scared

crapless of old Machinima content that possibly violated people’s copyright rights and possibly

getting sued about that going to the future”).

       11.     Upon information and belief, Warner Bros.’ discriminatory and illegal actions

continued even after Plaintiff Chang’s termination. Upon receiving notice from Plaintiff Chang

that he believed Warner Bros.’ actions to have been discriminatory, Warner Bros. began

conducting a phony “investigation” at the Company. Furthermore, the Company began

manufacturing baseless claims against Plaintiff Chang, falsely suggesting that Chang was

responsible for Warner Bros.’ copyright infringement. Warner Bros. has unlawfully threated to

bring these and other legal claims against Plaintiff Chang in order to discourage him from raising

his legally protected rights.

       12.     Upon information and belief, much like other wrongdoers in Hollywood who

have sought to hide systematic misconduct, Warner Bros. has sought to shield its discrimination




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and its copyright infringement from public view—and from all of the copyright holders whose

works have been infringed. Here, Warner Bros. has sought to compel arbitration of this dispute,

seeking to keep legal claims of civil rights violations and violation of copyright laws out of the

public eye.

       13.     Upon information and belief, on or about June 15, 2018, AT&T Inc. (“AT&T”)

completed its proposed acquisition of Time Warner Inc. Warner Bros. was included among the

entities that AT&T acquired, given that Warner Bros. was a division of Time Warner Inc.

       14.     Upon information and belief, Plaintiff Chang never agreed to arbitrate any

disputes with Warner Bros. Warner Bros.’ attempt to hide its wrongdoing reflects an utter

failure of corporate responsibility. If Warner Bros.’ efforts to bury this dispute were to be

successful, wrongdoers such as Warner Bros. would simply be enabled to repeat their

misconduct in the future without ever being held accountable. Warner Bros.’ racial

discrimination and retaliation against Plaintiff Chang, along with its attempt to wrongfully blame

its copyright infringement on Chang in retaliation against him, is contrary to public policy.

       15.     Warner Bros. violated federal and New York City law by discriminating against

Plaintiff Chang, and its actions caused him significant harm. Warner Bros. also retaliated against

Plaintiff Chang by threatening him with legal action. Plaintiff Chang seeks damages and costs

against Defendant Warner Bros. for discriminating against him on the basis of his race and

national origin in violation of Section 1981 of the Civil Rights Act of 1866, 42 U.S.C. § 1981

(“§ 1981”) and the New York City Human Rights Law, N.Y.C. Admin. Code §§ 8-101 et seq.

(“NYCHRL”) and on account of Warner Bros.’ unlawful retaliation against Chang.

       16.     Plaintiff Chang, a father and the sole breadwinner for his family, now faces a

future where Warner Bros. has made it impossible for him to provide for them.




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         JURISDICTION, VENUE, AND ADMINISTRATIVE PREREQUISITES

       17.     Pursuant to 28 U.S.C. § 1331, this Court has original jurisdiction over Plaintiff’s

claims arising under § 1981.

       18.     Pursuant to 28 U.S.C. § 1332, this Court has diversity jurisdiction over Plaintiff’s

claims, as Plaintiff is a citizen of the State of New York, and Defendant is a corporation

organized under the laws of the State of Delaware with its headquarters located in the State of

California.

       19.     Pursuant to 28 U.S.C. § 1367(a), this Court has supplemental jurisdiction over

Plaintiff’s claims under the New York City Human Rights Law, as these claims are so related to

the claims within such original jurisdiction that they form part of the same case or controversy.

       20.     Pursuant to 28 U.S.C. § 1391(b), venue is proper in the United States District

Court for the Southern District of New York, as a substantial part of the events giving rise to

these claims occurred within this District.

                                         TRIAL BY JURY

       21.     Plaintiff respectfully requests a trial by jury.

                                              PARTIES

       22.     Plaintiff Chang is a resident of the State of New York.

       23.     Upon information and belief, at all times relevant hereto, Defendant Warner Bros.

was and is a corporation organized under the laws of the State of Delaware with its principal

place of business located at 4000 Warner Boulevard, Burbank, CA. Warner Bros. is an

integrated, broad-based entertainment company focusing on the creation, production,

distribution, licensing and marketing of a variety of forms of entertainment and their related

businesses, including feature film, television and home entertainment production and worldwide




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distribution to DVD and Blu-ray, digital distribution, animation, comic books, video games, and

product and brand licensing.

                                   STATEMENT OF FACTS

       24.      Plaintiff Chang is a forty-six-year-old Asian American man of Korean descent.

Chang was born in the United States and is a citizen of the United States.

       25.      Plaintiff Chang has over two decades of experience working in finance and

accounting. His substantial, broad-based experience gives him the ability to build and run

finance organizations for major corporations.

       26.      Dramafever, a company founded by Korean Americans, was a digital streaming

service providing Korean and other East-Asian media to Western audiences. Dramafever

streamed Asian television shows and movies, with a focus on Korean content.

       27.      During or about early- to mid-2015, Plaintiff Chang applied for the position of

Vice President, Finance, with Dramafever and was hired for that position. Chang was never

offered any equity stake in Dramafever.

       28.      Plaintiff Chang began working for Dramafever in May 2015 as Vice President,

Finance. At the time Chang joined Dramafever, most of the executives employed at Dramafever

were Asian American.

       29.      Upon information and belief, during or about mid-2015, and perhaps even earlier,

Warner Bros. was engaged in talks about acquiring Dramafever from Softbank, a Japanese

conglomerate that then held a controlling stake in Dramafever. During or about August 2015,

Plaintiff Chang first learned about these ongoing discussions between Warner Bros. and

Softbank.




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       30.     During or about the fall of 2015, Plaintiff Chang began assisting in the due

diligence process as part of the potential sale. Chang was very busy at the time, given that he

was still new at Dramafever and getting up to speed as to both Dramafever’s then-current and

historical accounting practices. Chang was also building a finance team from scratch and hired

two people to join his team in mid- to late-2015.

       31.     In February 2016, Warner Bros. acquired Dramafever. As part of that transaction,

Dramafever changed its name to Warner Bros. Digital Labs., a division of Warner Bros.

       32.     Digital Labs created the technical backend for Warner Bros.’ various media

streaming services. Digital Labs provided support for three primary channels: (a) Dramafever;

(b) DC Universe, which streamed Warner Bros. DC Comics properties; and (c) Boomerang,

which streamed Turner’s older cartoon properties.

       33.     During the due diligence process between Warner Bros. and Softbank concerning

the potential sale of Dramafever, Plaintiff Chang was never promised any sort of compensation

in connection with the proposed sale of Dramafever to Warner Bros.

       34.     Plaintiff Chang did not have any equity stake in Dramafever and thus stood to

gain nothing from the transaction. In contrast, several other Dramafever employees were paid

millions of dollars as a result of Warner Bros.’ acquisition of Dramafever. In addition, Warner

Bros. paid Softbank tens of millions of dollars for Dramafever.

       35.     The Warner Bros. executives who worked on the Dramafever acquisition earned

significant promotions and were congratulated on what was viewed as an important acquisition

so that Warner Bros., a content creator, could enter the direct-to-consumer business.

       36.     At the time the acquisition closed, Plaintiff Chang received no equity or bonus in

connection with the transaction. During or about the months following the closing of the




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transaction, Seung Bak, Dramafever’s co-founder and CEO, negotiated future compensation for

Chang and for certain other Dramafever executives. It was not until over four months after the

acquisition closed that Warner Bros. agreed to pay Chang a fixed salary, with no prospect of it

being increased through March 31, 2018, along with the payment of certain bonuses in the future

if certain conditions were met.

       37.     After this acquisition, Plaintiff Chang reported directly to the CEO of Digital

Labs and was responsible for the financial operations of Digital Labs as a whole. Accordingly,

Plaintiff Chang’s responsibilities as Vice President of Finance extended to all three of the

streaming services operated by Digital Labs.

       38.     During or about the fourth quarter of 2017, Plaintiff Chang also became

responsible for certain operational roles, such as Content, Advertising Operations, and Business

Intelligence, as well as oversight of the Digital Labs’ office administrators.

       39.     At the time of its acquisition, Dramafever’s executive class included Suk Park,

Dramafever’s Co-founder and General Manager; Seung Bak, Dramafever’s co-founder and

CEO; Hyun Park, Suk’s brother and Dramafever’s Vice President; Rena Liu, Dramafever’s

Director of Business Operations and Strategy; Robert Kamphausen, Dramafever’s Vice

President of Product; David Yoon, Dramafever’s Vice President of Design; Yale Wang,

Dramafever’s Vice President of Marketing; Darrell Herbst, Dramafever’s Vice President of

Technology; Tim Lee, Dramafever’s Director of Content Licensing; Tanaz Mody, Dramafever’s

Vice President of People Operations; Romanos Fessas, Dramafever’s Vice President of Business

Strategy; and Plaintiff Chang.

       40.     Immediately upon its acquisition of Dramafever, Warner Bros. and its White

leadership evinced a discriminatory view of Dramafever’s incoming Asian American executives.




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       41.     For example, at one of the first executive-level meetings following Dramafever’s

acquisition, a Warner Bros. media executive expressed surprise that the Korean executives did

not have accents, stating that it was “amazing” how good their English was.

       42.     Those in attendance at this executive-level meeting on behalf of Dramafever

included Suk Park, Hyun Park, Rena Liu, and Tim Lee. These four individuals are of Asian

American heritage.

       43.     Craig Hunegs and Peter Roth attended on behalf of Warner Bros. At the close of

this meeting, one of these two executives stated that he wanted to give the Asian American

attendees a “good American hug.”

       44.     Ms. Liu, Mr. Lee, and the Park brothers had all lived in the United States for

decades, were all highly educated, were all successful employees of major American

corporations, and were running a multi-million-dollar company which Warner Bros. had just

acquired. Yet, they were still viewed by Warner Bros. executives as fundamentally foreign.

       45.     The Dramafever executives in attendance at this meeting were taken aback and

concerned by these comments, and they relayed what was said at the meeting to Plaintiff Chang.

       46.     These types of comments illustrate the discriminatory lens through which Warner

Bros. viewed Dramafever’s minority executives. Dramafever’s Asian American executives were

characterized primarily as outsiders and foreign to the existing Warner Bros. establishment.

       47.     These comments were particularly concerning, and at least hypocritical in part,

because Warner Bros.’ CEO, Kevin Tsujihara, is Japanese American.

       48.     Warner Bros.’ culture of permissiveness allowed discrimination against Asian

Americans to go unchecked. High-level White executives at Warner Bros. made offensive race-




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based comments and discriminated against and retaliated against Asian Americans even though

they reported to an Asian American CEO.

       49.     Plaintiff Chang spoke with several other Asian Americans at the Company who

agreed that it was shocking, both that these views existed at Warner Bros. and that they were

being expressed so openly. Chang was taken aback and disturbed that these antiquated

comments were being expressed in a professional environment, in this modern day and age. But

Chang told himself that this perhaps is something that still goes on at “old media” companies

like Warner Bros.

       50.     Warner Bros.’ discrimination against Asian Americans extended into its operation

of Dramafever and Digital Labs.

       51.     Seung Bak resigned as CEO during or about early 2018. Warner Bros. replaced

Mr. Bak with Patty Hirsch, a White woman. From that point forward, Ms. Hirsch was Plaintiff

Chang’s direct supervisor.

       52.     Ms. Hirsch expressed similar discriminatory sentiments to other White Warner

Bros. executives and allowed the discriminatory conduct to continue. For example, when

Plaintiff Chang informed Ms. Hirsch that he was of Korean descent, Ms. Hirsch responded by

stating “Oh, you’re not Chinese?” This comment was particularly bizarre and inappropriate,

given that Ms. Hirsch was well aware that most of the executives at Dramafever were Korean

American and that Dramafever focused on Korean content.

       53.     These types of comments made clear, both to Plaintiff Chang and to other Asian

American executives at Dramafever, that White executives at Warner Bros. tended to view

executives at the Company as either “White” or “not White,” and that non-White executives

were disfavored.




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       54.     During or about early 2018, shortly after Ms. Hirsch joined the Company as CEO,

Plaintiff Chang made a point to meet with her to express his concerns about the racially

discriminatory environment at the Company. During that conversation, Chang related to her

some of the offensive comments made by other Warner Bros. executives.

       55.     Plaintiff communicated his concerns about the Company’s treatment of Asian

Americans to Ms. Hirsch in the hope that she would act to address his concerns. However, Ms.

Hirsch was uncomfortable hearing about Chang’s experience and, rather than directly addressing

his concerns, she quickly changed the subject and moved on to another topic.

       56.     During or about the second quarter of 2018, Ms. Hirsch stripped Chang of a

number of his responsibilities, including Content, Ad Operations, Business Intelligence, and his

management of the Office Administrators. Even without these responsibilities, Chang still was

fully occupied in his core duties since he was in charge of all finance aspects of Digital Labs.

       57.     Ms. Hirsch stated that she stripped Plaintiff Chang of these responsibilities

because she wanted to “revisit everything” after taking the reins at Dramafever. Upon

information and belief, however, this was a mere pretext for her discriminatory and retaliatory

conduct against Plaintiff Chang. Notably, for example, she did not take any substantial duties

away from White Vice Presidents at Dramafever.

       58.     Ms. Hirsch also began excluding Plaintiff Chang from meetings related to

personnel decisions, including headcount, hiring, and firing. This marked a notable change from

the past, given that Plaintiff Chang had previously sat in on these meetings during Mr. Bak’s

tenure as CEO. Ms. Hirsch and the Human Resources director would also exclude Chang from

projects that directly impacted his financial responsibilities; as a result, he would often have to

correct their work when he became aware of it later on.




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       59.     Plaintiff Chang, concerned by Ms. Hirsch’s decisions, asked Ms. Hirsch if there

was anything he could do differently, but Ms. Hirsch could not identify for Plaintiff Chang any

specific performance issue that he needed to address. In bi-weekly one-on-one meetings

between Ms. Hirsch and Plaintiff Chang, Ms. Hirsch never raised any issues with Chang’s

performance. By this point Plaintiff Chang had already made his concerns clear to Ms. Hirsch

about the mistreatment of Asian Americans at the Company and the fact that he had concerns

about how he was treated, as an Asian American himself.

       60.     Plaintiff Chang never received a negative performance evaluation or other written

criticism of his job performance; to the contrary, Plaintiff Chang earned several salary increases.

For example, during or about December 2017, the Company informed Plaintiff Chang that his

base salary would be increased by more than 15%. Upon information and belief, he would not

have received these salary increases if his performance had been substandard.

       61.     Discrimination at the Company also took the form of reduced expectations and

responsibilities for Asian American executives.

       62.     Warner Bros.’ preference, and Ms. Hirsch’s preference, for White executives was

clear: Ms. Hirsch repeatedly stated that Warner Bros. wanted “people who could sell” in

executive roles. When Plaintiff Chang asked Ms. Hirsch to explain this statement, Ms. Hirsch

identified two White executives, the Vice President of Operations and the Vice President of

Product, as people who could “sell.”

       63.     Plaintiff’s primary responsibility was to manage the Company’s finances, as his

job title and past experience indicated. Plaintiff Chang knew plenty of individuals who work in

finance at Warner Bros. who do not “sell” but who are very successful.




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       64.     Upon information and belief, what Ms. Hirsch and her fellow executives at

Warner Bros. really meant by these comments is that executives should look like they can “sell.”

They just wanted people in executive leadership who look and sound like they do, and who the

Company believed would present better to Studio executives in Burbank.

       65.     In other words, Warner Bros. and Ms. Hirsch sought out White executives who

were racially and/or ethnically similar to the existing White leadership at the Company in the

biased belief that they would be more effective operating within a similar culture.

       66.     This view is reflected elsewhere in Warner Bros.’ operations. Warner Bros. staffs

its lower level positions in the accounting department with Asians and/or Asian Americans in

order to satisfy diversity requirements. For example, as part of Plaintiff Chang’s job duties, he

visited Warner Bros.’ accounting department which is located in Burbank, California, on a

quarterly basis. During these visits, which occurred as recently as late-2018, plaintiff Chang

noticed that many of the low-level employees in the accounting department were Asians and/or

Asian Americans. In contrast, the majority of the executives in Warner Bros.’ accounting

department in Burbank, California were White.

       67.     Like all major corporations, Warner Bros. has a number of diversity initiatives

relating to its employment practices in a claimed effort to increase diversity. Despite this, and

even though it has some Asian American leadership, including its CEO Kevin Tsujihara, the

majority of executives at Warner Bros. are White. Discrimination against non-Whites at the

Executive levels was particularly prevalent at Digital Labs in connection with Plaintiff Chang’s

termination and the termination of other Asian American executives, as Plaintiff Chang

describes in detail here.




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        68.    Warner Bros.’ discriminatory intent manifested most clearly when the Company

decided to close Dramafever in mid-October 2018.

        69.    As part of the process of closing Dramafever, Ms. Hirsch determined which

employees to terminate and which to retain in Digital Labs.

        70.    Ms. Hirsch’s decision on which employees to terminate was not driven solely by

Warner Bros.’ business decision to close Dramafever; rather, it was impermissibly tainted by

race and national origin. In other words, Ms. Hirsch and the Company used the closure of

Dramafever as an excuse to terminate a number of Asian American executives from Digital

Labs.

        71.    Rather than terminating the employees who worked in positions entirely

dedicated to Dramafever, Ms. Hirsch chose to terminate only certain dedicated Dramafever

employees while transferring others to Digital Labs.

        72.    Additionally, as part of the closure, Ms. Hirsch decided to terminate Digital Labs

employees who had responsibilities which encompassed streaming services other than

Dramafever.

        73.    Of the seven Vice President-level employees listed as part of Dramafever, there

were three Asian Americans and four Whites. Ms. Hirsch, and Warner Bros., decided to

terminate all three Asian Americans; in contrast, they chose to retain all four Whites. Ms. Hirsch

and Warner Bros. also terminated the sole Executive Director, Tim Lee, who is also Asian

American.

        74.    Warner Bros. elected to terminate Plaintiff Chang as part of this process, despite

the fact that Plaintiff Chang oversaw the financial operations of Digital Labs and all of its

divisions, not just Dramafever.




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       75.     In fact, as an internal accounting matter, the cost of Plaintiff Chang’s employment

was not assigned to Dramafever. Dramafever had its own P&L, and he was not factored into

Dramafever’s P&L. The cost of Plaintiff’s employment was listed on Digital Labs’ P&L, given

that his work as Vice President of Finance spanned all of Digital Labs’ operations. The closing

of Dramafever would not have adversely impacted Plaintiff’s ability to be productive, nor would

it have adversely impacted his team’s operations.

       76.     Every senior-level employee terminated at about this time was Asian American.

All three Vice Presidents, including Plaintiff Chang, who were terminated were Asian American.

Ms. Hirsch also terminated the sole Executive Director, Tim Lee, who is also Asian American.

All four Asian Americans, including Plaintiff Chang, were terminated on the same day.

       77.     Warner Bros. did not terminate any of Plaintiff Chang’s direct reports, and, upon

information and belief, the finance team that he supervised is still largely intact.

       78.     At all relevant times, including at the time of Plaintiff’s termination, Warner

Bros. did not provide Chang with the opportunity to seek other positions within the Company.

The Company simply terminated him, even though there were many other positions in Warner

Bros. where Chang’s financial and other experience could be readily employed.

       79.     In contrast, when Warner Bros. recently shut down another of its networks,

Machinima, it allowed a White female executive that ran the network to remain employed while

she pursued other opportunities. In contrast, Warner Bros. simply terminated Plaintiff Chang,

even though he could have both continued his work as Vice President of Finance of Digital Labs,

taken on other responsibilities within Digital Labs, or pursued opportunities elsewhere at Warner

Bros. This further demonstrates the Company’s discriminatory motives in its decision to

terminate Plaintiff Chang and its unlawful retaliation against him.




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       80.     After being terminated, Plaintiff Chang retained counsel who then contacted

Warner Bros. to put the Company on notice that Plaintiff Chang believed Warner Bros.’ actions

to be discriminatory.

       81.     In response, months after Plaintiff Chang’s termination and for the first time,

Warner Bros. stated that it had identified its own claims against Plaintiff Chang and that it would

pursue them if Plaintiff Chang filed suit against Warner Bros.

       82.     Upon information and belief, these purported claims arise out of an ongoing legal

issue based on music licensing for the media properties streamed on Dramafever.

       83.     While employed by Dramafever, Plaintiff Chang had no role in assessing legal

issues in general or the question of music licensing in particular.

       84.     As part of the due diligence process in 2015, Plaintiff Chang learned that

Dramafever had prior expenses related to music licensing claims.

       85.     In general, the issue concerning music licensing and copyright infringement

pertains to music that may be embedded within content, such as international television

programs, streamed on Dramafever. Upon information and belief, even though Dramafever paid

to license the television programs themselves that were streamed on the Dramafever platform,

the production company/content owner of certain of those television programs may not have

either properly licensed or obtained permission to use certain copyrighted musical works

contained within those television programs. In that event, a copyright holder to the musical

work may contend that Dramafever has infringed its rights and subject Dramafever to liability.

       86.     Information about music licensing liabilities was well known to Dramafever’s

other executives, Softbank, and, upon information and belief, Warner Bros., at the time of

Warner Bros.’ acquisition of Dramafever. Furthermore, upon information and belief, during or




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about early 2016, several Dramafever executives met with Warner Bros.’ legal counsel

concerning potential music rights liabilities.

       87.     In the process of investigating one transaction at Warner Bros.’ request during the

due diligence process—which was either a payment to an attorney in connection with a musical

work copyright claim or a settlement payment for a musical work copyright claim—Chang

reported the purpose of the transaction to Anna Lo, a Softbank employee who regularly

interacted with Dramafever representatives.

       88.     Plaintiff Chang had a limited role in the process of Warner Bros.’ acquisition of

Dramafever and had no responsibility for the issue of music rights. At the time of the

acquisition, Plaintiff Chang was still a relatively new employee given that he joined Dramafever

in May 2015 and the acquisition was agreed to by February 2016. Furthermore, Chang’s duties,

as Vice President of Finance of Digital Labs, was to operate its finance organization; he is not an

attorney and had no responsibilities for content licensing.

       89.     Upon information and belief, in October 2018, Warner Bros. shut down Digital

Labs’ Dramafever streaming channel—one that featured Korean and other East-Asian television

shows and movies—in order to obscure the scope of Warner Bros.’ infringement of the

intellectual property rights of countless musicians, composers, artists, and record labels. Since

Warner Bros. suddenly took down all of the content from the Dramafever streaming service,

music copyright holders are now unable to peruse the Dramafever library to ascertain the extent

to which Warner Bros. infringed on their intellectually property rights.

       90.     Now, upon information and belief, Warner Bros. is simply hoping that the

thousands upon thousands of copyright holders whose rights were infringed on the Dramafever

channel will not notice Warner Bros.’ copyright infringement of their work until all applicable




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statutes of limitations expire. When those statutes of limitations expire, all copyright holders

whose works were infringed by Warner Bros. will be barred seeking financial relief and

vindicating their rights against Warner Bros.

       91.     Upon information and belief, issues pertaining to the proper licensing of

copyrighted content hosted on the internet and on streaming platforms have been well known by

entertainment lawyers, including those at Warner Bros. for decades. YouTube itself, including

its current owner, Google, has been subject to extensive litigation concerning the alleged

improper use of copyrighted material in videos hosted on YouTube. Thus, any effort by Warner

Bros. to claim that it did not know or could not have known of extensive copyright infringement

on its platforms, including on Machinima and Dramafever, would ring hollow.

       92.     From the time Warner Bros. acquired Dramafever in 2016 through the end of

Plaintiff Chang’s employment in October 2018, the Company never communicated to Plaintiff

Chang that it believed he bore any responsibility for the ongoing music licensing issues, which

were well-known within Dramafever.

       93.     Nonetheless, Plaintiff Chang learned that, after he put Warner Bros. on notice of

his claims of unlawful discrimination and retaliation, Warner Bros. began interviewing Plaintiff

Chang’s former colleagues in a misguided attempt to further retaliate against Chang by blaming

music copyright liability issues on Chang.

       94.     Warner Bros. brought these individuals into interviews under false pretenses.

These interviews were not held at the Company’s offices. Instead, these interviews were held at

the law offices of Dontzin Nagy & Fleissig LLP. Unbeknownst to the interviewees, Dontzin

Nagy & Fleissig LLP is the same law firm that is adverse to Plaintiff Chang, and representing

Warner Bros., in this dispute between Chang and Warner Bros. The attorneys present at these




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interviews from Dontzin Nagy & Fleissig LLP and Warner Bros. then proceeded to interrogate

the interviewees about Plaintiff Chang. Upon information and belief, the purpose of these

interviews was for Warner Bros. to build an unsubstantiated legal case against Chang.

       95.     Upon information and belief, some of the interviewees were extremely troubled

by Warner Bros.’ outside counsel’s insinuation that Plaintiff Chang had done anything

inappropriate. After the interviews, some of the interviewees contacted Plaintiff Chang, on their

own volition, and informed him of the Company’s “investigation.”

       96.     Since that time, Warner Bros. has persisted in its campaign against Plaintiff

Chang in an effort to dissuade him from asserting his rights and filing legal claims against the

Company.

       97.     Upon information and belief, Warner Bros. has asserted to former executives of

Dramafever that Plaintiff Chang had acted inappropriately or otherwise faced liability for the

Dramafever music rights issue. By spreading harmful and false rumors about Plaintiff Chang’s

integrity and conduct as Vice President of Finance, Warner Bros. has interfered and impeded

with Plaintiff’s ability to secure employment.

       98.     Warner Bros. pursued this strategy specifically because Plaintiff Chang raised

claims of discrimination, in order to dissuade Plaintiff Chang from filing a lawsuit against

Warner Bros.

       99.     Upon information and belief, on or about June 15, 2018, AT&T completed its

proposed acquisition of Time Warner Inc. Warner Bros. was included among the entities that

AT&T acquired, given that Warner Bros. was a division of Time Warner Inc. Accordingly,

AT&T is now Warner Bros.’ ultimate corporate parent.




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       100.    Upon information and belief, at all relevant times in the dispute concerning

plaintiff Chang’s employment and termination, decisions concerning Warner Bros.’ legal

strategy were made by members of Warner Bros.’ legal department and Warner Bros.’

executives, not by employees of AT&T.

       101.    Plaintiff Chang is a father and the sole breadwinner for his family. None of his

family members, including his children, currently have health insurance. Plaintiff now faces a

future in which Warner Bros. has made it impossible for him to provide for them. Plaintiff

Chang recently purchased a house and now must use emergency savings to pay his bills.

       102.    Warner Bros.’ retaliation has caused Plaintiff undue anxiety and stress. Since his

termination, and particularly since Warner Bros. began threatening him with litigation, Plaintiff

Chang has become increasingly moody, depressed, and anxious. Plaintiff now has insomnia and

is having difficulties sleeping at night. Plaintiff Chang has an extremely reduced appetite, to the

point at which he often does not even feel like eating anymore. Plaintiff has continued to lose

weight since his termination. And after Chang first learned of Warner Bros.’ latest retaliatory

and false accusations against him, he lost five pounds in several days alone. His level of stress

has gotten so severe to the point that it is even affecting his dental health; on one occasion,

pieces of his teeth began falling off. The intense stress he is experiencing is also impacting his

relationship with his children. Even when Plaintiff is with them, the only thing he can think

about is Warner Bros. and its continued efforts to malign his professional reputation.

       103.    The realization that Plaintiff Chang is up against a global corporation and media

giant, and that Warner Bros. apparently will go to any lengths to defend itself—and act as if

rules of decency and fairness do not apply—keeps him up at night. Plaintiff Chang is fearful for

himself and for his family.




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        104.     Plaintiff Chang’s wife is worried, given the retaliatory actions already taken by

the Company. Plaintiff is going on job interviews and is fearful that word of Warner Bros.’ false

claims against him will get out to the close-knit media industry. Individuals in this industry

know each other, and even competitors are “frenemies.” Plaintiff believes that, given that

Warner Bros. already has taken the extraordinary step of fabricating claims against him which

could destroy his career, Plaintiff does not see why the Company would stop there. For

example, Plaintiff could very well imagine a scenario where decision makers at Warner Bros.

decide to pick up the phone and call their counterparts at competing media companies, and

spread false accusations to further retaliate against him.

        105.     While the discrimination and retaliation Plaintiff Chang faced at work were both

upsetting and distressful, Warner Bros.’ tactics over the past two months have magnified

Plaintiff’s stress. Plaintiff Chang is fearful that their actions will cost him his entire career.


                                       CAUSES OF ACTION

                                   FIRST CAUSE OF ACTION

                            Race Discrimination in Violation of § 1981

        106.     Plaintiff hereby realleges and incorporates each and every allegation contained in

paragraphs 1 through 105 with the same force as though separately alleged herein.

        107.     Section 1981 prohibits discrimination in contract, such as employment, on the

basis of race.

        108.     Warner Bros. discriminated against Plaintiff Chang on the basis of his race by

taking adverse employment action against him.

        109.     As such, Warner Bros. has violated Section 1981.




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       110.     As a direct and proximate consequence of Warner Bros.’ discrimination, Plaintiff

Chang has suffered, and continues to suffer, substantial damages, including, but not limited to,

emotional distress and suffering, all in amounts to be determined at trial.

       111.     Warner Bros.’ discriminatory treatment of Plaintiff Chang was willful and/or in

reckless disregard of Plaintiff Chang’s protected rights. Accordingly, Plaintiff Chang is entitled

to an award of punitive damages against Warner Bros.


                                 SECOND CAUSE OF ACTION

                                Retaliation in Violation of § 1981

      112.      Plaintiff hereby realleges and incorporates each and every allegation contained in

paragraphs 1 through 111 with the same force as though separately alleged herein.

       113.     Section 1981 prohibits retaliation against individuals who assert their rights under

Section 1981.

       114.     Plaintiff Chang asserted his rights under Section 1981 when he put the Company

on notice that it had discriminated against him on the basis of his race.

       115.     Warner Bros. retaliated against Plaintiff Chang after he raised concerns with the

Company’s then-CEO, Patty Hirsch, concerning the manner in which Asian Americans were

treated at the Company. Ms. Hirsch subsequently stripped Chang of many of his work

responsibilities and ultimately terminated him.

       116.     Warner Bros. further retaliated against Plaintiff Chang by threatening to take legal

action against him if he chose to assert and pursue his legal claims against the Company for

discrimination and unlawful retaliation. In fact, Warner Bros.’ outside counsel explicitly stated

to Plaintiff Chang’s counsel, in writing, that if Chang proceeds with legal claims against Warner

Bros., Warner Bros. would respond by pursuing unspecified legal claims against Chang.


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        117.    Warner Bros. further retaliated against Plaintiff Chang by fraudulently inducing

Chang’s legal counsel to attend an all-day JAMS mediation concerning this dispute.

        118.    This premediated stunt by Warner Bros. caused Plaintiff Chang’s attorneys to

waste at least sixteen (16) hours of their time in this meaningless and unproductive mediation

session.

        119.    In further unlawful retaliation against Chang, Warner Bros.’ attorneys violated

JAMS rules by improperly utilizing confidential information obtained in mediation. In addition,

Warner Bros. attorneys have leveled factually baseless accusations of ethics violations against

Plaintiff Chang’s counsel in a transparent attempt to further dissuade Plaintiff Chang from filing

his civil rights claims in federal court.

        120.    Warner Bros.’ willful misrepresentations and bad faith actions induced Chang’s

attorneys to delay the filing of this lawsuit for nearly two-and-a-half months.

        121.    As a direct and proximate consequence of Warner Bros.’ discrimination, Plaintiff

Chang has suffered, and continues to suffer, substantial damages, including, but not limited to,

emotional distress and suffering, all in amounts to be determined at trial.

        122.    Warner Bros.’ retaliation against Plaintiff Chang was willful and/or in reckless

disregard of Plaintiff Chang’s protected legal rights. Accordingly, Plaintiff Chang is entitled to

an award of punitive damages against Warner Bros.


                                   THIRD CAUSE OF ACTION

            Discrimination in Violation of the New York City Human Rights Law

        123.    Plaintiff hereby realleges and incorporates each and every allegation contained in

paragraphs 1 through 122 with the same force as though separately alleged herein.




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        124.    The New York City Human Rights Law (“NYCHRL”) prohibits an employer

from discriminating against an employee in terms, conditions, or privileges of employment on

the basis of, inter alia, their race and national origin.

        125.    Warner Bros. is an employer as contemplated by NYCHRL, and Plaintiff Chang

is an employee as contemplated by the NYCHRL.

        126.    Warner Bros. discriminated against Plaintiff Chang on the basis of his race and

national origin, by taking adverse employment action against him, up to and including

terminating his employment.

        127.    As such, Warner Bros. has violated the NYCHRL.

        128.    As a direct and proximate consequence of Warner Bros.’ discrimination, Plaintiff

Chang has suffered, and continues to suffer, substantial damages, including, but not limited to,

emotional distress and suffering, all in amounts to be determined at trial.

        129.    Warner Bros.’ discriminatory treatment of Plaintiff Chang was willful and/or in

reckless disregard of Plaintiff Chang’s protected legal rights. Accordingly, Plaintiff Chang is

entitled to an award of punitive damages.


                                  FOURTH CAUSE OF ACTION

               Retaliation in Violation of the New York City Human Rights Law

        130.    Plaintiff hereby realleges and incorporates each and every allegation contained in

paragraphs 1 through 129 with the same force as though separately alleged herein.

        131.    The New York City Human Rights Law (“NYCHRL”) prohibits an employer

from retaliating against an employee for asserting their rights under the NYCHRL.

        132.    Warner Bros. is an employer as contemplated by NYCHRL, and Plaintiff Chang

is an employee as contemplated by the NYCHRL.


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        133.    Plaintiff Chang asserted his rights under the NYCHRL when he notified the

Company that it discriminated and retaliated against him on the basis of his race and ethnicity.

        134.    Warner Bros. retaliated against Plaintiff Chang after he raised concerns with the

Company’s then-CEO, Patty Hirsch, concerning the manner in which Asian Americans were

treated at the Company. Ms. Hirsch subsequently stripped Chang of many of his work

responsibilities and ultimately terminated him.

        135.    Warner Bros. further retaliated against Plaintiff Chang by threatening to take legal

action against him if he chose to assert and pursue his legal claims against the Company for

discrimination and unlawful retaliation. In fact, Warner Bros.’ outside counsel explicitly stated

to Plaintiff Chang’s counsel, in writing, that if Chang proceeds with legal claims against Warner

Bros., Warner Bros. would respond by pursuing unspecified legal claims against Chang.

        136.    Warner Bros. further retaliated against Plaintiff Chang by fraudulently inducing

two of Chang’s attorneys to attend an all-day JAMS mediation concerning this dispute.

        137.    This premediated stunt by Warner Bros. caused Plaintiff Chang’s attorneys to

waste at least sixteen (16) hours of their time in this meaningless and unproductive mediation

session.

        138.    In further unlawful retaliation against Chang, Warner Bros.’ attorneys violated

JAMS rules by improperly utilizing confidential information obtained in mediation. In addition,

Warner Bros. attorneys have leveled factually baseless accusations of ethics violations against

Plaintiff Chang’s counsel in a transparent attempt to further dissuade Plaintiff Chang from filing

his civil rights claims in federal court.

        139.    Warner Bros.’ willful misrepresentations and bad faith actions induced Chang’s

attorneys to delay the filing of this lawsuit for over two months.




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       140.    As such, Warner Bros. has violated the NYCHRL.

       141.    As a direct and proximate consequence of Warner Bros.’ retaliation, Plaintiff

Chang has suffered, and continues to suffer, substantial damages, including, but not limited to,

emotional distress and suffering, all in amounts to be determined at trial.

       142.    Warner Bros.’ retaliation against Plaintiff Chang was willful and/or in reckless

disregard of Plaintiff Chang’s protected legal rights. Accordingly, Plaintiff Chang is entitled to

an award of punitive damages.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests the following relief:

           A. For the first cause of action, damages to be determined at trial;

           B. For the second cause of action, damages to be determined at trial;

           C. For the third cause of action, damages to be determined at trial;

           D. For the fourth cause of action, damages to be determined at trial;


 Dated: March 6, 2019                         Respectfully submitted,
        New York, NY

                                                     /s Veronica S. Jung
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